 Case 1:13-cr-00042-JTN          ECF No. 76, PageID.122            Filed 04/18/13      Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:13-cr-00042
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
SHARUN CONTRELL WILLIAMS,           )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 17, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Sharun Contrell Williams entered a plea of guilty to Count One of the Indictment

in exchange for the undertakings made by the government in the written plea agreement. In Count

One of the Indictment, defendant is charged with conspiracy to distribute and possess with intent

to distribute more than 28 g of cocaine base in violation of 21 U.S.C. §§ 846 and 841(a). On the

basis of the record made at the hearing, I find that defendant is fully capable and competent to enter

an informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
 Case 1:13-cr-00042-JTN           ECF No. 76, PageID.123           Filed 04/18/13       Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count One of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: April 18, 2013                                    /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                 -2-
